UNITED STATES DISTRICT COURT
S()UTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.

HEALTH & BEAUTY TECHNOLOGIES, INC., AND
MEDl-BUILD INTERNATIONAL CORP.

Plaintiffs,
v.

l\/IERZ PHARMA GmbH KGAA, AND
l\/IERZ NORTH AMERICA, lNC.,

Del`endants.

COMPLAINT

Plaintiffs Health & Beauty Technologies, Inc. (“HBT”) and l\/ledi-Build lnternational,
Corp. (“l\/ledi~Build”) (HBT and l\/ledi-Build are collectively referred to as “Plaintiffs”) hereby
sue Defendants l\/lerZ Pharma GmbH KGaA (“Merz Pharrna”) and l\/Ierz Noith Arnerica, Inc.,
(“l\/lerz NA”) (l\/lerz Pharina and l\/Ierz NA are collectively referred to as “l\/lerz”), and state as
follows:

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l. Plaintiff HBT is a Florida corporation located in and conducting substantial
business in Miami-Dade County, Florida.

2. Plaintiff l\/ledi-Build is a Florida corporation located in and conducting substantial
business in l\/liaini-Dade County, Florida.

3. Defendant Merz Pharina Gran KGaA (“l\/lerz Pharrna”) is a Gennan corporation

that does business throughout the United States including having had business dealings and

negotiations with Plaintiffs that, in palt, took place in Miami~Dade County, Florida.

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4. Defendant Merz North America, Inc. (“l\/lerz NA”) is a North Carolina
corporation that does business throughout the United States including having had business

dealings and negotiations vvith Plaintiffs that, in part, took place in Miami-Dade County, Florida.

Jurisdiction
5. This is an action for monetary damages, including pre-judgment interest, and
court costs among other claims.
6. This Court enjoys subject matter jurisdiction over this action under 28 U.S.C. §

l332(a)(l) because the Plaintiffs and Defendants are citizens of different states and the amount
in controversy exceeds 375,000.00, exclusive of interest, attorneys’ fees and costs.

7. This Court enjoys personal jurisdiction over the Defendants because the false and
misleading statements made by Defendants, as Well as part of the negotiations and business
dealings, Were transmitted in or to Plaintiffs Who are located in the Southern District of Florida,
and Defendants Were responsible for paying the fee, Which Plaintiffs are suing for, to Plaintiffs in
l\/liami-Dade County, Florida, and Plaintiffs remain residents of Florida.

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8. This Court enjoys venue under 28 U.S.C. § 1391(b)(2) because a substantial
portion of the events that gave rise to Plaintiffs’ claims transpired in the Southern District of
Florida, including portions of the Written and other negotiations that comprise the parties’
contract and business dealings as Well as statements directed by the Defendants to Plaintiffs in
the Southern District of Florida, and the fact that Defendants Were to pay the fee, which Plaintiffs

are suing for, to Plaintiffs in Miami-Dade County, Florida.

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General Allegations

9. During the 5-Continents Aesthetic l\/ledicine Conference held on September 18-
21, 2013 in France, l\/lichael Polakov, the President of Medi~Build and HBT, met with l\/latthew
Likens, the President and CEO of Ulthera, Inc., regarding Ulthera’s interest in being acquired by
a pharmaceutical company in order for Ulthera to continue its growth and inherent profitability

lO. At the time of that meeting l\/lr. Likens already knew l\/[r. Polakov and was aware
that he did extensive consulting in the Aesthetic l\/ledical Field, including for mergers and
acquisitions, and of his excellent international reputation throughout the medical aesthetics field.

ll. During the course of the 5~Continents conference, l\/lr. Likens and Mr. Polakov
had several discussions regarding Ulthera, and l\/lr. Likens advised l\/lr. Polakov that although
Ulthera had made it known to several companies that it was interested in being acquired, as of
that time Ulthera was not engaged in anv substantive discussions or active negotiations with any
potential acguirers= be it pharmaceutical companies or other acquisition entities.

l2. Accordingly, l\/Ir. Likens and Mr. Polakov reached an agreement at the conference
whereby Mr. Polakov, through his companies l\/[edi-Build and HBTl, had a non-exclusive
engagement to market Ulthera to potential acquiring entities, including pharmaceutical
companies ln order to avoid limiting Plaintiffs’ efforts, l\/lr. Likens specifically and
purposefully did not list or exclude any potential acquiring entities from those upon whom
Plaintiffs would provide their efforts and then be entitled to a fee if one of those entities acquired
Ulthera, based upon i\/lr. Likens’ position that at that time Ulthera was not in any substantive

discussions with any entities about being acquired l\/[r. Likens specifically expressed that he

 

1 At the time of the initial meeting, l\/lr. Polakov referenced HBT as an entity being formed to
segment his work in the mergers and acquisitions area, but it was not formally created as a legal
entity until March 2014.

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did not Want to limit Plaintiffs from bringing any interested entity to the “table” once and for all,
even if that included entities that may previously have had preliminary talks with Ulthera.

13. Ulthera agreed that Plaintiffs would be entitled to a fee commensurate to the
standard industry fee (which ranges from l to 5 % of the acquisition price) if Plaintiffs
successfully found an acquiring company; but based upon l\/lr. Likens’ desire, it was understood
and agreed that payment of the fee should and would be structured as part of the acquisition deal
and be funded by the purchasing entity, regardless of whether the payment was routed through
Ulthera or not. For that reason, Mr. Likens asked Plaintiffs to please register the name of any
specific party(ies) when, and if they, expressed a definite interest in negotiating an acquisition,
so that Plaintiffs would be properly involved in the transaction

14. l\/lr. Likens and l\/lr. Polakov shook hands to confirm their oral agreement

15. A few days later, l\/lr. Polakov spoke with Mr. Jean-Yves Coste, the Healthcare
Director of Michel Dyens & Co., a French based and New York branched lnvestment Banking
Company, that generally represents acquirers within the healthcare and cosmetic medical field.
l\/lr. Polakov, through his companies, had previously collaborated with l\/lr. Coste on other
potential acquisition deals. l\/lr. Coste informed l\/lr. Polakov that he was in rather continuous
discussions with a phannaceutical company by the name of l\/lerz Pharma that was looking to
acquire new technologies

16. l\/lr. Polakov on behalf of Plaintiffs, and l\/lr. Coste on behalf of Michel Dyens &
Co., agreed to work cooperatively together to provide l\/lerz Pharma and its affiliates with targets
for acquisition lt was discussed and understood between l\/lr. Polakov and l\/lr. Coste that
Plaintiffs would be entitled to a fee within the range standard in the industry of l to 5% of the

acquisition price for their services, and that l\/lichel Dyens & Co. would similarly be entitled to

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seek the same fee structure in connection with its representation of the acquiring entity, and that
those fees would be paid out of the purchasing entities’ funds

17. Plaintiffs immediately proceeded to provide l\/lr. Coste with extensive details on
several potential target companies, including Ulthera.

18. On September 26, 2013, a mere one week later, l\/lr. Coste sent his initial email to
l\/lr. Hans-J org Bergler the then Head of Corporate Development at l\/lerz Pharma, and l\/lr. Philip
Burchard the CEO at l\/lerz Pharma, discussing Ulthera, Inc. and providing them with a profile on
Ulthera as well as asking whether they would be interested in a formal meeting with l\/lr. Likens.
A copy of the September 26, 2013 email is attached hereto as Exhibit “1”.2

19. After the September 26, 2013 email, l\/lr. Coste engaged in further
communications with l\/lr. Bergler and l\/lr. Burchard, including an October 30, 2013 email to
them in which he again discussed Ulthera and three other potential target companies and
proposed introductions to the CEO’s of those companies, as well as proposing a meeting with
l\/lr. Bergler and l\/lr. Burchard in Frankfurt, Germany to provide them with more information A
copy of the October 30, 2013 email is attached hereto as Exhibit “2.”

20. l\/lr. Bergler responded by suggesting a telephone conference with he and l\/lr.
Burchard to which Mr. Coste agreed At that time l\/lr. Coste also introduced and advised by
email that Mr. Polakov was involved in the transaction A conference call was eventually
scheduled for November 8, 2013 after a series of emails involving Plaintiffs, Mr. Coste and l\/lerz

Pharma.

 

2 For any emails that are in Gennan or partially in Gennan, Plaintiffs have included an unofficial
google translation version solely for the convenience of those readers who do not read German.
Plaintiffs do not attest to the accuracy of the translations but find that they are sufficient to
provide the reader with an understanding of the emails.

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21. A copy of the series of October 30, 2013 emails and the conference call invitation
detail is attached hereto as Composite Exhibit “3”.

22. Shortly after the November 811` telephone conference was held, l\/lr. Coste sent
Merz Pharma on behalf of l\/lichel Dyens & Co. and Plaintiffs private and confidential written
material regarding Ulthera and the other potential target companies that had been discussed A
copy of the material sent in November is attached hereto as Exhibit “4”.

23. Additionally, it was decided that Mr. Polakov and l\/lr. Coste would travel to l\/lerz
Phanna’s headquarters in Frankfurt, Germany to have a face to face meeting with the l\/lerz
executives, primarily about Ulthera.

24. On Friday, December 6, 2013, l\/lr. Polakov and l\/lr. Coste met with l\/lr. Bergler
and Jonathan Parrish, a business development manager for l\/lerz NA, at the l\/lerz Pharma’s
Headquarters in Frankfurt, Germany. lnitially, l\/lerz Pharma’s CEO Philip Burchard was
scheduled to attend the meetings, but he ultimately did not attend.

25. The December 6, 2013 meeting was a multi~hour meeting in l\/Ierz Phanna’s
conference room in which Ulthera and some other target companies were discussed in detail, as
was the respective roles of Mr. Polakov and l\/lr. Coste’s companies and their compensation

26. Specifically, l\/lr. Bergler and l\/lr. Parrish were advised once again that Plaintiffs
represented Ulthera and worked on the seller’s side, and l\/lr. Coste confirmed that if any of the
proposed deals were consummated that l\/lr. Coste’s company would be representing l\/lerz as the
buyer. Plaintiffs and l\/lichel Dyens & Co.’s respective fees were to be paid out of the
Purchaser’s funds, with their respective fees to be in the range of l to 5% of acquisition price

which is standard in the industry.3

 

3 Plaintiffs have officially collaborated on a deal with l\/lichel Dyens & Co. with an approximate
acquisition value of the better part of One Hundred Million Dollars ($100,000,000.00), for which
Plaintiffs’ received a 5% fee and l\/lichel Dyens & Co. received a 3% fee.

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27. During the discussion regarding the possible acquisition of Ulthera, l\/Ir. Bergler
and Mr. Parrish both stated that l\/lerz was not really interested in acquiring Ulthera because
l\/lerz did not want to get into the field of “expensive medical devices” and that they wanted to
only consider true “pharmaceutical types of products.” They also stated that they thought
Ulthera vvas too large for l\/lerz to potentially acquire.

28. In response, l\/lr. Polakov gave a very extensive and detailed proprietary
presentation about how the acquisition of Ulthera would be advantageous to l\/lerz and would
provide l\/lerz great additional value because Ulthera would provide Merz with an “in-office
installed base device market” which would allow Merz to build upon, gaining larger and deeper
relationships in the domain of medical aesthetic practices

29. After hearing l\/lr. Polakov’s detailed explanation, both l\/lr. Bergler and Mr.
Parrish stated that that they would take l\/lr. Polakov’s many points under consideration

30. Gn December 10, 2013, Mr. Coste sent a post-meeting email to l\/lr. Bergler and
l\/[r. Parrish with a copy to l\/Ir. Polakov recapping the meeting A copy of the December 10,
2013 email is attached hereto as Exhibit “5”.

31. Thereafter, l\/lr. Coste on behalf of his company and Plaintiffs continued to
communicate with l\/lerz representatives regarding Ulthera and certain of the other targets
previously identified in their extensive communications

32. On January 27, 2014, Mr. Burchard scheduled a meeting with Mr. Coste to take
place on February 1St at the IMCAS l\/ledical Conference in Paris, France, which was confirmed
on January 28, 2014. A copy of the January 27th and 28th emails with l\/lr. Burchard’s assistant
scheduling the meeting is attached hereto as composite Exhibit “6”.

33. Michel Dyens & Co. on behalf of itself and Plaintiffs again provided private and

confidential written material regarding Ulthera as well as other potential target companies to

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l\/lerz in connection with the February l, 2014 meeting A copy of the material is attached
hereto as Exhibit “7”.

34. During the February 1St meeting, l\/lr. Burchard advised l\/lr. Coste that l\/lerz did
not have any interest in acquiring Ulthera or other medical equipment opportunities

35. l\/lr. Coste promptly informed l\/lr. Polakov of Merz’s decision, who in turn
communicated with l\/lr. Likens, whose company was also at the Il\/ICAS Conference in Paris,
that Plaintiffs were unable to obtain a potential buyer. l\/lr. Likens stated that Ulthera separately
had not located an interested acquirer and that Ulthera intended to move forward with the
decision to go public and that he had started the process of doing so.

36. Approximately 5 months later, Plaintiffs became aware based upon various public
announcements in the industry that l\/lerz4, or one of its affiliates or subsidiariesj had acquired
100% of Ulthera for approximately Six l-lundred l\/lillion Dollars ($600,000,000.00).

37. l\/lr. Polakov immediately contacted l\/lr. Coste, who was equally shocked and
upset to find out that l\/lerz had closed a deal to purchase Ulthera without notifying, informing
and, as a result, not paying either Plaintiffs’ or l\/lichel Dyens & Co their respective fees

38. Mr. Coste’s efforts over several months to discuss and resolve this matter with
l\/lerz were unsuccessful

39. l\/lr. Polakov subsequently spoke with l\/lr. Likens, who confirmed that l\/Ierz had
acquired Ulthera. Mr. Likens stated that he thought Merz was responsible for paying all owed
fees to Plaintiffs and Michel Dyens & Co. Mr. Likens further stated that l\/lerz had never

advised him, or anyone with Ulthera, of Plaintiffs and l\/lichel Dyens & Co.’s involvement and

 

‘ Various news reports attributed the acquisition to Merz NA and others to l\/lerz Pharma with both entities
providing statements indicating that they were the acquiring company. Based upon a Federal Trade
Commission statement it appears that an affiliate entity named Merz Holding GmbH & Co. KG that took
title to Ulthera, while an SEC filing states that a company known as Merz lnternational, lnc. owns
Ulthera, and the Merz website states that Ulthera is a division of Merz Aesthetics, which is a division of
Merz Pharma.

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interactions with Merz. l\/lr. Likens emphasized that Ulthera itself had not intentionally excluded
Plaintiffs and/or Michel Dyens & Co., and that it was very clearly l\/lerz that excluded Plaintiffs
and l\/lichel Dyens & Co., in that Merz had failed to be forthcoming with Ulthera during entire
eventual process of the acquisition

40. l\/lr. Likens also confirmed, once again, that at the time he had retained Plaintiffs
in September 2013 that Ulthera was not engaged in any substantive negotiations or discussions
with l\/lerz or anyone else regarding their acquisition of Ulthera. Furthermore, according to l\/lr.
Likens’ recent assurances, Merz did not begin serious negotiations with Ulthera, and vice versa,
until after the ll\/lCAS l\/ledical Conference in February 2014 and more importantly after
Ulthera’s intention to take the company public became public information

41. Thereafter, l\/lr. Polakov attempted to meet with Mr. Bergler at the next industry
conference they both attended, but Mr. Bergler rudely ended their conversation once he realized
the subject and deliberately walked away.

42. At a subsequent conference, Mr. Polakov spoke with a more junior member of
Merz’s Business Development team, who advised that he would try to look into it. Eventually
that person reported back to Mr. Polakov that Mr. Bergler had ordered him not to have any
further dealings whatsoever with Mr. Polakov.

43. ln January of 2017, Mr. Polakov had the opportunity to finally speak with l\/lr.
Burchard at the JP l\/lorgan related Dermatology Summit in San Francisco, and to explain to him
in detail the situation. Mr. Burchard agreed to look into it and claimed that he had been unaware
of Plaintiffs’ involvement, despite his having been involved in emails and discussions with
Plaintiffs and Michel Dyens & Co.

44. After not hearing back from Mr. Burchard, Mr. Polakov followed up with him in

writing on May 9, 2014 reminding Mr. Burchard that he had never heard from him and that l\/lr.

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Burchard had failed to speak with Mr. Polakov on the issue at two intervening conferences where
l\/lr. Polakov had seen him. A copy of the l\/lay 9, 2014 email is attached hereto as Exhibit “8”.

45. Mr. Burchard responded on l\/lay ll, 2014 claiming as an excuse that he had been
waiting On additional information and that Mr. Polakov should speak with l\/lerz Pharma’s in-
house counsel Frau Frankenberger.

46. l\/lr. Polakov spoke with Frau Frankenberger and offered to meet with her to
discuss the matter Frau Frankenberger refused to even consider a meeting unless l\/Ir. Polakov
first provided all prior communications and documents he had regarding the Ulthera dealings
with l\/lerz. Frau Frankenberger made this demand while also refusing to provide any of l\/lerz’s
documentation

47. Due to Frau Frankenberger’s one-sided pre-condition for her to even consider a
meeting, no meeting took place.

48. ln June 2017, Mr. Polakov then reached out to the Board of Merz Pharma, who
initially expressed a possible interest in meeting, but subsequently on June 22, 2017 declined to
meet.

49. lnstead of meeting, the l\/lerz Pharma Board had Frau Frankenberger send an
email dated June 22, 2017 in which l\/lerz claimed for the first time, and contrary to prior
statements of Merz personnel and the assurances of Mr. Likens, that it had commenced its
formal negotiations to acquire Ulthera in October 2013, and further claimed that Merz had
adopted a Mutual Nondisclosure Agreement with Ulthera prior to Plaintiffs and Michel Dyens &
Co.’s November 8th conference call and the December oth meeting with Merz Phanna and Merz
NA. A copy of Frau Frankenberger’s June 22, 2017 email is attached hereto as Exhibit “9”.

50. Frau Frankenberger’s June 22nd did not provide a copy of the alleged non-

disclosure agreement and her email totally failed to address the fact that Plaintiffs and Michel

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Dyens & Co had provided l\/lerz with detailed information on Ulthera in September 2013; the
month prior to l\/lerz’s claimed commencement of formal negotiations with Ulthera.

51. Frau Frankenberger’s June 22nd email also failed to address why Merz was just
now claiming, for the first time, that Merz had entered into negotiations prior to its meetings with
Plaintiffs and Michel Dyens & Co., or why it would meet with, solicit and continue to accept
detailed information and presentations from Plaintiffs and l\/lichel Dyens & Co. regarding
Ulthera if l\/lerz was supposedly already in negotiations with Ulthera.

52. Plaintiffs have retained undersigned counsel to represent them in this action, and
are required to pay said firm reasonable attomeys’ fees

53. All conditions precedent to the bringing of this action were performed, have
occurred or were waived

COUNT I
BREACH OF ORAL CONTRACT

54. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein.

55. Starting in September 2013, Plaintiffs and l\/lichel Dyens & Co. offered their
respective services to l\/lerz to identify, evaluate, vet and provide detailed information and direct
access regarding potential target companies along with making Plaintiffs knowledge of and
relationships with Ulthera and other target companies available to Merz.

56. Plaintiffs reached an oral contract with l\/lerz Pharma and l\/lerz NA in which it
was agreed that Plaintiffs, along with l\/[ichel Dyens & Co. would identify, evaluate, vet and
provide detailed information to Merz Pharma and Merz NA regarding potential target companies
along with Plaintiffs’ knowledge of and relationships with Ulthera and the other potential target
companies so that l\/lerz Pharma or Merz NA could acquire the target companies, either directly

or through one of their affiliate entities

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57. Pursuant to that oral contract, if l\/lerz Pharma or l\/lerz NA was interested in
acquiring any company that Plaintiffs and l\/lichel Dyens & Co. proffered, Plaintiffs and l\/lichel
Dyens & Co. would be involved in providing requested services in connection with the
acquisition for which Plaintiffs were to be paid a fee, which would in the range of l to 5% of the
acquisition price which was standard in the industry, and to be paid from l\/lerz Pharma or Merz
NA’s acquisition funds5

5 8. This oral contract was formed based upon the communications (written and oral)
between and among l\/lichel Dyens & Co., Plaintiffs and l\/lerz Pharma and Merz NA between
September 2013 and December 2013, as alleged above in more detail in the general allegations

59. l\/Ierz Pharma and Merz NA accepted Plaintiffs’ offer of services by Merz Pharma
and Merz NA’s words and actions in meeting and conferring with Plaintiffs and accepting and
soliciting confidential written information provided by and on behalf of Plaintiffs to Merz
Pharma and Merz NA as well as the proprietary oral presentation provided by Plaintiffs’
President Mr. Polakov.

60. Plaintiffs provided consideration in the form of their time in putting together
confidential information and proprietary presentations regarding Ulthera and other target
companies, their time in meeting and conferencing with l\/lerz Pharma and l\/lerz NA, as well as
the time and expense incurred in traveling to Frankfurt, Germany for the meeting at l\/lerz
Pharma’s headquarters all of which benefited and were accepted by l\/lerz Pharma and l\/lerz NA.

61. l\/lerz Pharma and l\/lerz NA breached the oral contract by acquiring Ulthera, in or
about July 2014, either directly or through an affiliated company, without involving Plaintiffs in
the transaction, without disclosing Plaintiffs’ role to Ulthera, and without compensating

Plaintiffs the inherently agreed upon fee.

 

5 Michel Dyens & Co, had an independent and inherently separate contract with l\/lerz Pharma and Merz NA, that upon information and belief is
also oral.

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62. Plaintiffs have demanded payment, but l\/lerz Pharma and Merz NA have failed
and refused to pay the amounts due and owing to Plaintiffs

63. As a result of Merz Pharma and l\/lerz NA’s breaches, Plaintiffs have been
damaged

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter a judgment
in their favor and against Defendants l\/lerz Pharma and l\/lerz NA, jointly and severally, for
actual damages pre-judgment interest, costs and any such other and further relief which the
Court may deem just and proper.

COUNT II
BREACH OF ORAL CONTRACT

64. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

65. During the 5-Continents Aesthetic Medicine Conference held on September 18-
21, 2013 in France , Michael Polakov, the President of l\/ledi-Build and HBT, met with Matthew
Likens, the President and CEO of Ulthera, lnc., regarding Ulthera’s interest in being acquired by
a pharmaceutical company in order for Ulthera to continue its growth and inherent profitability

66. During the course of the conference, l\/lr. Likens and l\/lr. Polakov had several
discussions regarding Ulthera, and Mr. Likens advised l\/lr. Polakov that although Ulthera had
made it known to several companies that it was interested in being acquired, as of that time
Ulthera was not engaged in any substantive discussions or active negotiations with any
pharmaceutical companies or any acquisition entities

67. Accordingly, Mr. Likens and Mr. Polakov entered into an oral contract at the
conference whereby Plaintiffs had a non-exclusive engagement to market Ulthera to potential
acquiring entities, including pharmaceutical companies

68. ln order to avoid limiting Plaintiffs’ efforts, l\/[r. Likens specifically and

purposefully did not list or exclude any potential acquiring entities from those upon whom

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Plaintiffs would be entitled to a fee if they acquired Ulthera, based upon l\/lr. Likens’ position
that at that time Ulthera was not in any substantive discussions with any entities about being
acquired l\/lr. Likens specifically did not want to limit Plaintiffs from bringing any interested
entity, even those that may have previously had preliminary talks with Ulthera, to the “table”,
once and for all.

69. Ulthera agreed that Plaintiffs would be entitled to a fee commensurate to the
standard industry fee which ranges from 1 to 5 % of acquisition price, if Plaintiffs successfully
found an acquiring company Based upon Mr. Likens’ desire, it was agreed that payment of the
fee would be structured as part of the acquisition deal and be funded by the purchasing entity
regardless of whether the payment was routed through Ulthera or not. For that reason, Mr.
Likens asked Plaintiffs to please register the name of any specific paity(ies) when and if they
expressed a definite interest in negotiating an acquisition

70. Plaintiffs provided consideration in the form of their time in putting together
confidential information and proprietary presentations regarding Ulthera, their time in meeting
and conferencing with Merz Pharma and l\/lerz NA, as well as the time and expense incurred in
traveling to Frankfurt, Germany for the meeting at l\/lerz Pharma’s headquarters all of which
benefited and were accepted by Ulthera.

71. Plaintiffs, through their actions and the actions of Michel Dyens & Co., identified
Ulthera to l\/lerz Pharma and Merz NA and provided confidential information and proprietary
presentations on the value of Ulthera to Merz Pharma and l\/[erz NA during their November 8,
2013 conference call and December 6, 2013 meeting as well as in the written material provided
to l\/lerz Pharma and l\/lerz NA in connection with the November conference call and the meeting

provided to l\/lr. Burchard in connection with the February 1St meeting with Mr. Coste.

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72. Accordingly, as a direct result of Plaintiffs’ actions and those taken on Plaintiffs
behalf by l\/lichel Dyens & Co., Ulthera was acquired in July 2014 by Merz Pharma or Merz
NA, directly or through one of their affiliates,.

73. During the December 6, 2013 meeting that Plaintiffs and Michel Dyens & Co.
had with l\/lerz Pharma and l\/lerz NA, Plaintiffs made known to l\/lerz Pharma and Merz NA that
it had an oral contract with Ulthera under the terms as alleged above, and l\/lerz Pharma and l\/lerz
NA assumed that oral contract and the payment obligations thereunder by its actions, statements
and conduct including its proceeding to acquire, either directly or through an affiliate, Ulthera.

74. Pursuant to their oral contract with Ulthera, Plaintiffs are entitled to a fee in the
standard industry range of 1 to 5 % of the Six Hundred l\/lillion Dollar ($600,000,000.00)
acquisition price of Ulthera, which was to be funded and paid by l\/lerz Pharma or l\/lerz NA and
which remains due and owing, and therefore Plaintiff has been damaged by this breach.

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter a judgment
in their favor and against Defendants l\/lerz Pharma and l\/lerz NA, , jointly and severally, for
actual damages, pre-judgment interest, costs and any such other and further relief which the
Court may deem just and proper.

COUNT III
UNJUST ENRICHl\/IENT

75. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

76. Plaintiffs conferred a benefit to Merz Pharma and l\/lerz NA by identifying,
evaluating, vetting and providing detailed information to them regarding Ulthera and other target
companies, as well as providing them with a detailed and extensive proprietary oral presentation
regarding the benefits of Ulthera and its industry segment to l\/lerz Pharma and l\/lerz NA, and the

growth opportunities provide to them by such an acquisition

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77. l\/lerz Pharma and l\/lerz NA accepted and retained the benefit by accepting the
confidential information and the proprietary oral presentation and proceeded to act upon that
benefit by acquiring either directly or through an affiliate Ulthera.

78. The circumstances are such that it would be inequitable for Merz Pharma and
l\/lerz NA, whether in their individual capacities or as acquirers of Ulthera, to accept the benefit
without compensating Plaintiffs for the fair value of their services

79. The standard industry compensation range for the services that Plaintiffs provided
is 1 to 5 % of Ulthera’s acquisition price of Six Hundred l\/lillion Dollars ($600,000,000.00). .

WHEREFORE, Plaintiffs request that this Honorable Court enter a judgment in their
favor against l\/lerz Pharma and Merz NA for actual damages, pre-judgment interest, costs and
award any such other and further relief which the Court deems just and proper.

COUNT IV
QUANTUM MERUIT

80. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

81. Plaintiffs conferred a benefit to l\/lerz Pharma and l\/lerz NA by identifying,
evaluating, vetting and providing detailed information to them regarding Ulthera and other target
companies, as well as providing them with a detailed and extensive proprietary oral presentation
regarding the benefits of Ulthera and its industry segment to Merz Pharma and Merz NA, and the
growth opportunities provide to them by such an acquisition

82. Merz Pharma and l\/lerz NA accepted and retained the benefit by accepting the
services that Plaintiffs provided, including the detailed confidential information and the
proprietary oral presentation and proceeded to act upon that benefit by acquiring either directly
or through an affiliate Ulthera.

83. The circumstances are such that it would be inequitable for l\/lerz Pharma and

l\/lerz NA to accept the benefit without compensating Plaintiffs for the fair value of their services

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84. The standard industry compensation range for the services that Plaintiffs provided
is 1 to 5 % ofUlthera’s acquisition price of Six Hundred Million Dollars ($600,000,000.00).

WHEREFORE, Plaintiffs request that this Honorable Court enter a judgment in their
favor against l\/lerz Pharma and Merz NA for actual damages, pre-judgment interest, costs, and
award any such other and further relief which the Court deems just and proper

COUNT V
INTENTIONAL MISREPRESENTATION

85. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

86. Plaintiffs, through l\/lr. Polakov and l\/lr. Coste, communicated with l\/Ierz Pharma
and l\/lerz NA on September 26, 2013 and again in October and November 2013 to inquire if they
were interested in working with and having Plaintiffs identify, evaluate, vet and provide detailed
information, relationships and industry insight regarding potential companies for acquisition

87. l\/lerz Pharma and l\/lerz NA accepted Plaintiffs’ offer of services and Plaintiffs
began working with l\/lerz Pharma and Merz NA.

88. As a result of Merz Pharma and Merz NA’s acceptance of Plaintiffs’ offer,
Plaintiffs’ President l\/lr. Polakov spoke and then met with Merz Pharma and l\/lerz NA and
discussed the potential acquisition of Ulthera in November and December 2013, respectively

89. l\/lerz Pharma, through the statements of l\/lr. Bergler, and Merz NA, through the
statements of l\/lr. Parrish, advised Plaintiffs on December 6, 2013 that neither company had any
interest in acquiring Ulthera, but advised that based upon Plaintiffs’ proprietary presentation at
the December 6th meeting that they take would take Plaintiffs’ points under consideration

90. l\/lr. Burchard, CEO of l\/lerz Phanna, subsequently confirmed on February l,
2014 in his communication with Mr. Coste that neither l\/lerz Pharma nor l\/lerz NA had any

interest in acquiring Ulthera.

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9 1. Mr. Bergler’s, l\/lr, Parrish’s and l\/lr. Burchard’s statements that l\/lerz Pharma and
l\/lerz NA did not have any interest in acquiring Ulthera were knowingly false as Merz Pharma
and l\/lerz NA either directly or through an affiliate, acquired Ulthera in or about July 2014, and
further because l\/lerz Pharma’s in-house counsel has now written a June 22, 2017 email in which
she contends l\/lerz had entered into substantive negotiations to acquire Ulthera in October 2013
as reflected in a claimed non-disclosure agreement.

92. l\/lerz Pharma and l\/lerz NA’s knowingly false statements that they did not have
any interest in acquiring Ulthera were made in order to avoid having to pay Plaintiffs their fee, as
well as to induce Plaintiffs to not have reason to register Merz Pharma and Merz NA as potential
acquiring entities with Ulthera, and to induce Plaintiffs to have no further interactions with l\/lerz
Pharma and l\/[erz NA with respect to the Ulthera acquisition

93. Plaintiffs justifiably acted in reliance upon l\/[erz Pharma and l\/lerz NA’s express
statements and therefore advised Ulthera’s President and CEO, Matt Likens, that they had not
located any company to acquire it and as a result Plaintiffs did not register Merz Pharma or Merz
NA with Ulthera, and further ceased their interactions with l\/lerz Pharma and Merz NA
regarding acquiring Ulthera.

94. Plaintiffs were damaged by l\/Ierz Pharma and l\/lerz NA’s intentional
misrepresentations as Plaintiffs did not register the names of Merz Pharma and l\/lerz NA with
Ulthera and therefore were excluded by Ulthera and l\/lerz Pharma and l\/lerz NA in the
acquisition of Ulthera and did not receive their fee which was to be in the industry standard
range of l to 5% of Ulthera’s acquisition price of Six Hundred Million Dollars
($600,000,000.00).

WHEREFORE, Plaintiffs request that this Honorable Court enter a judgment in their

favor against l\/lerz Pharma and l\/Ierz NA, jointly and severally, for actual damages, pre-

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judgment interest, costs and award any such other and further relief which the Court deems just
and proper

COUNT VI
INTENTIONAL MISREPRESENTATION

95. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

96. Plaintiffs, through l\/lr. Polakov and l\/lr. Coste, communicated with l\/lerz Pharma
and Merz NA on September 26, 2013 and again in October and November 2013 to inquire if they
were interested in working with and having Plaintiffs identify, evaluate, vet and provide detailed
information relationships and industry insight regarding potential companies for acquisition

97. l\/lerz Pharma and l\/Ierz NA accepted Plaintiffs’ offer of services and Plaintiffs
began working with l\/lerz Pharma and l\/[erz NA.

98. As a result of Merz Pharma and l\/lerz NA’s acceptance of Plaintiffs’ offer,
Plaintiffs’ President l\/lr. Polakov met with l\/lerz Pharma and l\/lerz NA and discussed the
potential acquisition of Ulthera in November and December 2013.

99. Merz Pharma, through the silence and actions of l\/lr. Bergler during his
communications and interactions with Plaintiffs and l\/Iichel Dyens & Co. in their
communications as set forth above in October, November and December failed to disclose to
Plaintiffs that Merz Pharma or its affiliates had already or were about to engage in negotiations
with Ulthera and further omitted to disclose that they were not going to pay any fee to Plaintiffs

100. l\/lerz NA through the silence through the silence and actions of Mr. Parrish
during the December 6, 2013 meeting with Plaintiffs and l\/lichel Dyens & Co. failed to disclose
to Plaintiffs that l\/lerz NA or its affiliates had already or were about to engage in negotiations
with Ulthera and thus further omitted to disclose that they were operating in such a matter that

would result in nonpayment of any fee to Plaintiffs.

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101. l\/lr. Burchard, CEO of Merz Pharma, through his silence and actions during his
meeting with l\/lr. Coste6 on February 1, 2014 failed to disclose on behalf of l\/lerz Pharma and
l\/lerz NA that Merz Pharma and l\/lerz NA had supposedly already engaged in or were about to
engage in direct negotiations with Ulthera to acquire it.

102. l\/lr. Bergler’s, Mr. Burchard’s and l\/lr. Parrish’s omissions were intentional and
knowingly false and constitute an intentional misstatement as l\/lerz Pharma and l\/Ierz NA either
directly or through an affiliate, were already engaged in or about to engage in direct negotiations
to acquire Ulthera.

103. l\/lerz Pharma and l\/lerz NA’s omissions were done in order to avoid having to
pay Plaintiffs their fee, as well as to induce Plaintiffs to provide them with confidential
information and proprietary presentations to induce them not to register l\/[erz Pharma and l\/lerz
NA as potential acquiring companies with Ulthera, and to induce Plaintiffs to have no further
interactions with Merz Pharma and Merz NA with respect to the Ulthera acquisition

104. Plaintiffs justifiably acted in reliance upon Merz Pharma and l\/lerz NA’s
statements and as a result of their omissions met with and provided confidential information and
proprietary presentations and did not register Merz Pharma or l\/lerz NA with Ulthera, and further
ceased its interactions with l\/lerz Pharma and l\/lerz NA regarding acquiring Ulthera.

105. Plaintiffs were damaged by l\/lerz Pharma and Merz NA’s intentional omissions as
Plaintiffs provided proprietary presentations and confidential information for which they were
not compensated and they did not register l\/lerz Pharma and Merz NA with Ulthera and therefore
were excluded by Ulthera and Merz Pharma and l\/lerz NA in the acquisition of Ulthera and did
not receive their fee which was to be in the industry standard range of l to 5% of Ulthera’s

acquisition price of Six Hundred l\/lillion Dollars ($600,000,000.00).

 

6 Mr. Coste was meeting on behalf of Plaintiffs as well as l\/lichel Dyens & Co.

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WHEREFORE, Plaintiffs request that this Honorable Court enter a judgment in their
favor against l\/lerz Pharma and l\/lerz NA, jointly and severally, for actual damages, pre-
judgment interest, costs, and award any such other and further relief which the Court deems just
and proper

COUNT VII
NEGLIGENT MISREPRESENTATION

106. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

107. Plaintiffs, through l\/ir. Polakov and Mr. Coste, communicated with Merz Pharma
and Merz NA on September 26, 2013 and again in October and November 2013 to inquire if they
were interested in working with and having Plaintiffs identify, evaluate, vet and provide detailed
information, relationships and industry insight regarding potential companies for acquisition

108. l\/lerz Pharma and l\/lerz NA met with Plaintiffs’ President l\/lr. Polakov and
discussed the potential acquisition of Ulthera in November and December 2013.

109. Merz Pharma through the statements of Mr. Bergler, and Merz NA through the
statements of Mr. Parrish, advised Plaintiffs on December 6, 2013 that neither company had any
interest in acquiring Ulthera

110. l\/lr. Burchard, CEO of l\/lerz Pharma, subsequently confirmed on February 1,
2014 in his communication with l\/lr. Coste7 that neither Merz Pharma nor Merz NA had any
interest in acquiring Ulthera.

111. Merz Pharma and l\/lerz NA statements to Plaintiffs that they did not have any
interest in acquiring Ulthera were false as l\/lerz Pharma and l\/lerz NA either directly or through
an affiliate, acquired Ulthera in or about July 2014, and further because Merz Pharma’s in-house

counsel has now written a June 22, 2017 email in which she contends l\/lerz had entered into

 

7 Mr. Coste was meeting on behalf of Michel Dyens & Co. and Plaintiffs

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formal negotiations to acquire Ulthera in October 2013 as supposedly reflected in a claimed non-
disclosure agreement

112. Mr. Bergler,`as an executive and representative of l\/lerz Pharma, had a duty,
which he breached, to ascertain the truth of his statements regarding Merz Pharma’s interest (or
supposed non-interest) in acquiring Ulthera, and a further duty, which he also breached, to
correct the false statements as that was a material fact and element of l\/lerz Pharma’s dealings
with Plaintiffs.

113. l\/lr. Parrish as an executive and representative of Merz NA, had a duty, which he
breached, to ascertain the truth of his and his superior, Mr. Bergler’s, statements regarding Merz
NA’s interest (or supposed non-interest) in acquiring Ulthera and a further duty, which he also
breached, to correct the false statements as it was a material fact and element of Merz’s dealings
with Plaintiffs

114. Mr. Burchard as the CE() of l\/lerz Pharma and a representative of l\/lerz Pharma
and Merz NA, had a duty, which he breached, to ascertain the truth of his and his employees’
statements regarding l\/lerz Pharma’s and l\/[erz NA’s interest (or supposed non-interest) in
acquiring Ulthera, and a further duty, which he also breached, to correct the false statements as it
was a material fact and element of Merz Pharma and l\/lerz NA’s dealings with Plaintiffs

115. The statements that l\/lr. Bergler, Mr. Parrish and Mr. Burchard made on behalf of
Merz Pharma and Merz NA that those companies did not have any interest in acquiring Ulthera
were made in order to avoid having to pay Plaintiffs their fee as well as to induce Plaintiffs not to
register l\/lerz Pharma and Merz NA as potential acquiring companies with Ulthera and to induce
Plaintiffs to have no further interactions with l\/Ierz Pharma and Merz NA with respect to the

Ulthera acquisition

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l 16. Plaintiffs justifiably acted in reliance upon l\/lerz Pharma and Merz NA’s express
statements and therefore advised Ulthera’s President and CEO, l\/latt Likens, that they had not
located any company to acquire it and as a result did not register Merz Pharma or l\/Ierz NA with
Ulthera, and further ceased their interactions with Merz Pharma and l\/lerz NA regarding
acquiring Ulthera.

1 17. Plaintiffs were damaged by l\/lerz Pharma and l\/lerz NA’s negligent
misrepresentations as they did not register l\/lerz Pharma and l\/lerz NA with Ulthera and
therefore were excluded by Ulthera and l\/lerz Pharma and l\/lerz NA in the acquisition of Ulthera,
and did not receive their fee which was to be in the industry standard range of 1 to 5% of
Ulthera’s acquisition price of Six Hundred Million Dollars ($600,000,000.00)..

WHEREFORE, Plaintiffs request that this Honorable Court enter a judgment in their
favor against Merz Pharma and l\/lerz NA for actual damages, pre-judgment interest, costs, and
award any such other and further relief which the Court deems just and proper.

COUNT VIII
BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

l 18. Plaintiffs re-allege Paragraphs 1 through 52 as if fully set forth herein

l 19. l\/lerz Pharma and l\/lerz NA entered into an oral contract with Plaintiffs in which
Merz Pharma and l\/lerz NA agreed that Plaintiffs would identify, evaluate, vet and provide
detailed information regarding Ulthera along with making Plaintiffs’ knowledge of and
relationships with Ulthera available to l\/lerz Pharma and Merz NA in connection with their
acquisition efforts

120. As part of the good faith and fair dealing that was required between the parties,
Merz Pharma and Merz NA had a duty and obligation to enter into a contract with Plaintiffs that

could be performed if Merz Pharma, l\/lerz NA or one of their affiliates acquired Ulthera.

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121. Specifically, Merz Pharma and l\/lerz NA had a duty to treat fairly the business
opportunity being presented by Plaintiffs, including the obligation to not misuse any confidential
or proprietary information or analysis for their personal gain without compensating Plaintiffs

122. l\/lerz Pharma and Merz NA breached their duty of good faith and fair dealing
because, as has now been made clear by the Frau Frankenberger June 22, 2017 email, Merz
Pharma and Merz NA had no intention of honoring the contract and fairly treating the business
opportunity and proprietary or confidential information and analysis Plaintiffs provided to them.

123. lnstead, Merz Pharma and l\/lerz NA engaged in duplicitous conduct whereby they
repeatedly met with and obtained confidential and proprietary information from and on behalf of
Plaintiffs under false pretenses of working collaboratively with Plaintiffs pursuant to an
agreement to pay Plaintiffs

124. Merz Pharma and l\/lerz NA agreed to pay a fee which was to be in the industry
standard range of 1 to 5% of Ulthera’s acquisition if l\/Ierz Pharma, Merz NA, or any affiliated
entity acquired Ulthera.

125. Plaintiffs provided consideration in the form of their time in putting together
confidential information regarding Ulthera and other target companies, their time in meeting and
conferencing with Merz Pharma and Merz NA, as well as the time and expense incurred in
traveling to Frankfurt, Germany for the meeting at Merz Pharma’s headquarters all of which
benefited and were accepted by Merz Pharma and Merz NA.

126. Plaintiffs have demanded payment, but Merz Pharma and Merz NA have failed
and refused to pay the amounts due and owing to Plaintiffs.

127. As a result of l\/lerz Pharma and l\/lerz NA’s breaches Plaintiffs have been

damaged

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WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter a judgment
in their favor and against Defendants Merz Pharma and Merz NA, jointly and severally, for
actual damages, pre-judgment interest, costs, and any such other and further relief which the
Court may deem just and proper..

COUNT IX
TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIP

128. Plaintiffs re-allege Paragraphs l through 52 as if fully set forth herein

129. During the 5-Continents Aesthetic l\/ledicine Conference held on September 18-
21, 2013 in France , l\/lichael Polakov, the President of l\/ledi-Build and HBT, met with l\/latthew
Likens, the President and CEO of Ulthera, Inc., regarding Ulthera’s interest in being acquired by
a pharmaceutical company in order for Ulthera to continue its growth and inherent profitability

130. During the course of the conference, Mr. Likens and Mr. Polakov had several
discussions regarding Ulthera, and l\/lr. Likens advised l\/lr. Polakov that although Ulthera had
made it known to several companies that it was interested in being acquired, as of that time
Ulthera was not engaged in any substantive discussions or active negotiations with any
pharmaceutical companies or any acquisition entities

131. Accordingly, Mr. Likens and Mr. Polakov entered into an oral contract at the
conference whereby Plaintiffs had a non-exclusive engagement to market Ulthera to potential
acquiring entities, including pharmaceutical companies

132. ln order to avoid limiting Plaintiffs’ efforts, Mr. Likens specifically and
purposefully did not list or exclude any potential acquiring entities from those upon whom
Plaintiffs would be entitled to a fee if they acquired Ulthera, based upon Mr. Likens’ position
that at that time Ulthera was not in any substantive discussions with any entities about being

acquired Mr. Likens specifically did not want to limit Plaintiffs from bringing any interested

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entity, even those that may have previously had preliminary talks with Ulthera, to the “table”,
once and for all.

133. Ulthera agreed that Plaintiffs would be entitled to a fee commensurate to the
standard industry fee which ranges from 1 to 5 % of acquisition price if Plaintiffs successfully
found an acquiring company Based upon l\/lr. Likens’ desire, it was agreed that payment of the
fee would be structured as part of the acquisition deal and be funded by the purchasing entity
regardless of whether the payment was routed through Ulthera or not. For that reason, Mr.
Likens asked Plaintiffs to please register the name of any specific party(ies) when and if they
expressed a definite interest in negotiating an acquisition

134. l\/lr. Likens and Mr. Polakov shook hands to confirm the agreement

135. Plaintiffs, through their actions and the actions of l\/lichel Dyens & Co., identified
Ulthera to Merz Pharma and Merz NA and provided confidential information and proprietary
presentations on the value of Ulthera to Merz Pharma and l\/lerz NA during their November 8,
2013 conference call and December 6, 2013 meeting as well as in the written material provided
to Merz Pharma and Merz NA in connection with the November conference call and the meeting
provided to l\/lr. Burchard in connection with the February 1St meeting with l\/lr. Coste.

136. During the December 6, 2013 meeting that Plaintiffs and l\/lichel Dyens & Co.
had with l\/lerz Pharma and Merz NA, Plaintiffs made known to Merz Pharma and Merz NA that
it had an oral contract with Ulthera under the terms as alleged above.

137. Therefore Merz Pharma and Merz NA, at all relevant times, had knowledge of the
contractual relationship between Plaintiffs and Ulthera.

138. Merz Pharma and Merz NA intentionally and without justification interfered

with Plaintiffs’ contractual relationship with Ulthera.

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139. Specifically, l\/lerz Pharma and Merz NA, directly or through an affiliate
proceeded to acquire Ulthera, lnc. without disclosing or informing Ulthera that Plaintiffs had
provided Merz Pharma and Merz NA with confidential and proprietary information and without
informing Plaintiffs, thereby precluding Ulthera from listing Plaintiffs as part of the transaction
resulting in Plaintiffs not receiving the agreed upon compensation

140. As a result of this interference, which breached and tortuously interfered with
Plaintiffs’ contractual relationship with Ulthera, Plaintiffs were damaged as they were not paid
the required fee for their services, which was to have been a fee in the standard industry range of
1 to 5 % of the Six Hundred Million Dollar ( 8600,000,000.00) acquisition price of Ulthera,
which was to be funded and paid by Merz Pharma or Merz NA and which remains due and
owing

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter a judgment
in their favor and against Defendants Merz Pharma and Merz NA, jointly and severally, for
actual damages, pre-judgment interest, costs, and any such other and further relief which the
Court may deem just and proper.

DEMAND FOR JURY TRIAL
141. Plaintiffs demand trial by jury on all issues so triable
PATHMAN LEWIS, LLP
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